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                UNITED STATES DISTRICT COURT
               SOUTHERN DISTRICT OF GEORGIA 21112 APRI 16 AM 10 : IL
                       STATE SBORO DIVISION                                .....



UNITED STATES OF AMERICA           )
                                   )
V.                                 )     Case No. CR606-026
                                   )
                                   )

                                ORDER


      After a careful de novo review of the record in this case, the Court

concurs with the Magistrate Judge's Report and Recommendation, to which

no objections have been filed. Accordingly, the Report and Recommendation

of the Magistrate Judge is adopted as the opinion of the Court.

      SO ORDERED this _day of
                                            1/)


                                       . AVT EDENFILD 1
                                    UNITED STATES ØISTRICT JUDGE
                                    SOUTHERN DISRICT OF GEORGIA
